    Case 3:18-cr-00536-M Document 18 Filed 02/27/19           Page 1 of 2 PageID 75


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                    §
                                            §
                                            §   NO. 3:18CR-536-M
                                            §
                                            §
LARRY DUNCAN                                §
                                            §

                       NOTICE OF ATTORNEY APPEARANCE

COMES NOW BARRY SORRELS AND STEPHANIE LUCE OLA, Counsel for LARRY

DUNCAN and would file this Notice of Attorney Appearance on behalf of the Defendant.

                                                Respectfully Submitted,

                                                _/s/ Barry Sorrels_______________
                                                BARRY SORRELS – lead counsel
                                                State Bar No. 18855300
                                                bjs@sorrelshagood.com

                                                STEPHANIE LUCE OLA
                                                State Bar No. 24065649
                                                slo@sorrelshagood.com

                                                BARRY SORRELS, P.C.
                                                2515 McKinney Avenue, Suite 940
                                                Dallas, Texas 75201
                                                214-720-4040
                                                214-237-0905 – FAX
                                                bjs@sorrelshagood.com
                                                slo@sorrelshagood.com

                                                ATTORNEYS FOR DEFENDANT




Notice of Attorney Appearance - Defendant
    Case 3:18-cr-00536-M Document 18 Filed 02/27/19                   Page 2 of 2 PageID 76


                                 CERTIFICATE OF SERVICE

I hereby certify that on February 27, 2019, I electronically filed the foregoing document with the
clerk for the United States District Court for the Eastern District of Texas pursuant to its electronic
filing system (ECF). The ECF sent a “Notice of Electronic Filing” to the attorneys of record who
have consented to accepting service via this method.

                                                       s/ Barry Sorrels      _______




Notice of Attorney Appearance - Defendant
